                     Case 1:21-mc-50960-TLL ECF No. 2,AUSA:
                                                       PageID.14    Filed
                                                             J. Michael    07/19/21 Page
                                                                        Buckley            1 of 5(313) 269-4706
                                                                                     Telephone:
AO 93 (Rev. 11/13) Search and Seizure Warrant                   Officer:           Matthew Krueger                  Telephone: (216) 214-3220


                                           UNITED STATES DISTRICT COURT
                                                                        for the
                                                              Eastern District of Michigan

                  In the Matter of the Search of               )
              (Briefly describe the property to be searched    )
               or identify the person by name and address)     )                Case No.     1:21-mc-50960
      The residence located at 844 Smith Street East Tawas, MI )                             Judge: Ludington, Thomas L.
      48730 described in detail in Attachment A.               )                             Filed: 07-13-2021
                                                               )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Eastern   District of        Michigan                                        .
(identify the person or describe the property to be searched and give its location):

See ATTACHMENT A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
                                                                                                     I hereby certify that the foregoing is a certified copy
See ATTACHMENT B.                                                                                    of the original on file in this office.
                                                                                                     Clerk, U.S. District Court
                                                                                                     Eastern District of Michigan

                                                                                                     By: s/ Kristen Castaneda
                                                                                                         Deputy


        YOU ARE COMMANDED to execute this warrant on or before July 27, 2021                        (not to exceed 14 days)
       ✔ in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the presiding United States Magistrate Judge on duty        .
                                                                                               (United States Magistrate Judge)

          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
         for       days (not to exceed 30)      until, the facts justifying, the later specific date of                                                        .

                                          July 13, 2021       2:21 pm
Date and time issued:
                                                                                                       Judge’s signature

City and state:        Bay City, Michigan                                               Patricia T. Morris, U. S. Magistrate Judge
                                                                                                     Printed name and title
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                       ATTACHMENT A
            PROPERTY TO BE SEARCHED
1. The residence located at 844 Smith Street East Tawas, MI 48730 (“Target
   Premises”). The residence is further described as a single-family home with
   brown brick and tan vinyl siding. The Target Premises is located on the
   eastside of Smith Street and is the first house north of Bennington Street.
   The search of the Target Premises shall include all rooms, attics, crawl
   spaces, basements, safes, locked boxes, storage facilities, and unattached
   garages if applicable. The places to be searched include, a black 2021
   Dodge Ram bearing Michigan license plate EKG0353 with vehicle
   identification number (VIN) 1C6SRFJT3MN780487, and a dark in color
   2020 Jeep Wrangler bearing Michigan license plate CVA832 with VIN
   1C4HJXDN2LW226055.

                                 FRONT SIDE
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   ATTACHMENT B – ITEMS TO BE SEARCHED FOR AND
                     SEIZED


In the name of or likeness bearing Jose Guadalupe MENDEZ-Cazares, and/or
Leopoldo Cazares Mendez, the following items may be searched for and seized:


     (1)    Birth certificates or birth records;
     (2)    School records;
     (3)    Bus or train tickets;
     (4)    Airline tickets or boarding passes;
     (5)    Passports or passport applications;
     (6)    Visas or visa applications;
     (7)    Work permits or work permit applications;
     (8)    From the nation of Mexico, identification cards, voter identification
            cards or drivers’ licenses;
     (9)    From the United States, identification cards or drivers’ licenses;
     (10)   Mail addressed to the person named above, including but not limited
            to, correspondence, bills, advertising, solicitations;
     (11)   Records regarding ownership or leasing of vehicles in the name of
            the above person, including autos, trucks, and motorcycles;
     (12)   Records regarding insurance for vehicles in the name of the above
            person, including autos, trucks, or motorcycles;
     (13)   Tax returns in the name of the above person, including state or
            federal returns, and any schedules or attachments (Form W-2);
     (14)   Bank statements in the name of the above person;
     (15)   In the name of the above person, ATM cards, debit cards or credit
            cards;
     (16)   Credit card statements in the name of the above person;
     (17)   Utility bills or records in the name of the above person;
     (18)   Telephone bills or records in the name of the above person;
     (19)   Records regarding employment of the above person, including
            paychecks, pay stubs, records of hours worked, places worked or
            employers;
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  (20) For the above named person, documents regarding government
       benefit programs such as Food Stamps, “Bridge Card,” “EBT” card,
       Michigan unemployment benefits, WIC, and Social Security
       Administration programs;
  (21) For the above named person, real estate records including leases,
       land contracts, deeds, and mortgages;
  (22) For the above named person, loan applications, mortgage
       applications and payday lending applications;
  (23) For the above named person, records of bank transactions, including
       but not limited to, check stubs or registers, canceled checks, deposit
       tickets, debit memos, credit memos, wire transfer documents,
       records of savings accounts including passbooks and statements;
  (24) For the above named person, records and documents identifying the
       location of safety deposit boxes or other possible depositories for
       cash and other liquid assets
  (25) For the above named person, indicia of occupancy, residency, and/or
       ownership of the premises, including but not limited to, utility and
       telephone bills, canceled mail in envelopes, and keys.
